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AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection
                                                                                                   of Premises in a Civil Action


                                       United States District Court
                                                              for the
                                                EASTERN DISTRICT OF LOUISIANA

  E.N BISSO & SON, INC.
                                                                              )
                               Plaintiff                                      )
                                 v.                                           )        Civil Action No. 19-14666 c/w 20-525
                                                                              )
  M/V DONNA J. BOUCHARD, ET AL                                                                                  SECTION "E" (1)
                                                                              )
                              Defendant                                       )

                       SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                         OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:     WELLS FARGO BANK, NATIONAL ASSOCIATION

                                                       (Name ofperson to whom this subpoena is directed)

    Cl Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below
                                                                                                           the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing,
                                                                                                      or sampling of the
material:
          SEE DESCRIPTION ATTACHED HERETO AS EXHIBIT "A"


 Place: 1100 POYDRAS STREET                                                             Date and Time:
        SUITE 3250                                                                       June 8, 2020 at 10:00 a.m.
        NEW ORLEANS, LA 70163

     □ Inspection ofPremises: YOU ARE COMMANDED to permit entry onto the designated premises,
                                                                                                               land, or
other property possessed or controlled by you at the time, date, and location set forth below, so
                                                                                                  that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object
                                                                                                   or operation on it.
 Place:                                                                                Date and Time:



        The following provisions of Fed. R. Civ. P. 45 are attached - Rule 45(c), relating to the place of
                                                                                                           compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g),
                                                                                                   relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:     May 22. 2020

                                  CLERK OF COURT
                                                                                           OR

                                           Signature of Clerk or Deputy Clerk                                        Attorney's signature

The name, address, e-mail address, and telephone number of the attorney representing (name of
                                                                                             party)___ _________
 BOLAND MARINE & INDUSTRIAL. LLC                                        , who issues or requests this subpoena, are:
 Cary A. Des Roches, 1100 Poydras Street, Suite 3250, New Orleans, LA 70163
 email: cdr@desrocheslaw.com telephone: (504) 235-9322________________
                                Notice to the person who issues or requests this subpoena
A notice and a copy of the subpoena must be served on each party in this case before it is served
                                                                                                  on the person to whom
it is directed. Fed. R. Civ. P. 45(a)(4).


                                                                                                                              EXHIBIT "A"
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Civil Action No.

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)

on (date)


            □ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           On (date)                                   ; or

            □ I returned the subpoena unexecuted because:



            Unless the subpoena w'as issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $

My fees are $                                      for travel and $                             for services, for a total of $                0.00



            I declare under penalty' of perjury that this information is true.


Date:
                                                                                                   Server's signature



                                                                                                 Printed name and title




                                                                                                    Server's address

Additional information regarding attempted service, etc.:




                                                                                                                              EXHIBIT "A"
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                                           EXHIBIT “A”


1.      For the time period January 1, 2016 through the present, all correspondence, including
electronic mail, between Wells Fargo Bank, National Association and the following entities:
Bouchard Transportation Company, Inc., Tug Donna J. Bouchard Corp., B. No. 272 Corp. and any
“Subsidiary*' as that term is defined in Article 1, Section 1.1, page 14 of that certain Loan
Agreement dated as of October 30, 2013 between Wells Fargo Bank, National Association and
Bouchard Transportation Co., Inc.


2.      For the time period January 1, 2016 through the present, all correspondence, including
electronic mail, between legal counsel for Wells Fargo Bank, National Association and legal
counsel for the following entities: Bouchard Transportation Company, Inc., dug Donna J.
Bouchard Corp., B. No. 272 Corp. and any “Subsidiary” as that term is defined in Article I, Section
1.1, page 14 of that certain Loan Agreement dated as of October 30, 2013 between Wells Fargo
Bank, National Association and Bouchard Transportation Co., Inc.


3.      For the time period January 1,2016 through the present, all notices of default provided by
Wells Fargo Bank to Bouchard Transportation Company, Inc. and any other “Loan Party” as that
term is defined in Article I, Section 1.1 of that certain Loan Agreement dated as of October 30,
2013 between Wells Fargo Bank, National Association and Bouchard Transportation Co., Inc.


4.     The April 4, 2019 “desktop appraisal” prepared by Dufour, Laskey & Strouse, Inc. as
referenced in Article I, Section 1.1(b) under the definition of “Bank Designated Vessels” of the
Fourth Amendment, Forbearance, Waiver and Joinder Loan Agreement dated November 5, 2019
between Wells Fargo Bank, National Association and Bouchard Transportation Co., Inc.


5.      All documents of any “sale, sale-leaseback, transfer, assignment, conveyance or other
disposition in full of title to any Vessel constituting Collateral or the B. No. 272 (Official Number
1257375) or the Donna J. Bouchard (Official Number 9753181) as referenced in Article I, Section
1.1(b) under the definition of “Disposition” of the Fourth Amendment, Forbearance, Waiver and
Joinder Loan Agreement dated November 5, 2019 between Wells Fargo Bank, National
Association and Bouchard Transportation Co., Inc.


6.     All documents of any “Special Asset Sale” as referenced in Article I, Section 1.2(b) of the
Fourth Amendment, Forbearance, Waiver and Joinder Loan Agreement dated November 5, 2019
between Wells Fargo Bank, National Association and Bouchard Transportation Co., Inc.


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                                                                                   EXHIBIT "A"
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7.     Loan file(s) and loan underwriting file(s) pertaining to that certain Loan Agreement dated
as of October 30, 2013 including the four amendments thereto.


8.      For the time period January 1, 2016 through the present, documents identifying each and
every bank account held by Bouchard Transportation Co., Inc. and any “Subsidiary” as that term
is defined in Article I, Section 1.1 page 14 of that certain Loan Agreement dated as of October 30,
2013 between Wells Fargo Bank, National Association and Bouchard Transportation Co., Inc.


9.     For the time period January 1, 2016 through the present, all consolidated financial
statements of any “Loan Party and their Subsidiaries or any other Person” as those terms are
defined and utilized in Article I, Section 1.1 of that certain Loan Agreement dated as of October
30, 2013 between Wells Fargo Bank, National Association and Bouchard Transportation Co., Inc.


10.    For the time period January 1, 2016 through the present, all tax returns, consolidated or
separately filed of any “Loan Party and their Subsidiaries or any other Person” as those terms are
defined and utilized in Article I, Section 1.1 of that certain Loan Agreement dated as of October
30, 2013 between Wells Fargo Bank, National Association and Bouchard Transportation Co., Inc.


11.     Documents in effect for the time period January 1, 2016 through the present of any
contract(s) or agreement(s) between Bouchard Transportation Co., Inc. and any “Subsidiary” as
that term is defined in Article I, Section 1.1 page 14 of that certain Loan Agreement dated as of
October 30, 2013 between Wells Fargo Bank, National Association and Bouchard Transportation
Co., Inc.


12.     For the time period January 1, 2016 through the present, all bank statements of any
Bouchard Transportation Co., Inc. bank account for which it is a signatory or otherwise has
authority to transfer funds.


13.     All documents generated by Wells Fargo Bank, National Association, including any person
or entity engaged by it, regarding Wells Fargo Bank, National Association’s decision to extend
credit to Bouchard Transportation Co., Inc. and enter into that that certain Loan Agreement dated
as of October 30, 2013, including all amendments, between Wells Fargo Bank, National
Association and Bouchard Transportation Co., Inc.




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                                                                                                                                      3)

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that docs
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (c) Duties in Responding to a Subpoena.
  (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in tire ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (\) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena docs not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
  (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
      (i) At any time, on notice to the commanded person, the serving party        tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
      (ii) These acts may be required only as directed in the order, and the       subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district w'herc          until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow' a reasonable time to comply;                              present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the infonnation until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify' the subpoena if it requires:                              who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




                                                                                                                                   EXHIBIT "A"
